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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   SYMBOLOGY INNOVATIONS LLC,                       )
                                                    )
                          Plaintiff,                )
                                                    )    C.A. No. 1:19-cv-01479-RGA
          v.                                        )
                                                    )
   CLINICAL INNOVATIONS, LLC,                       )
                                                    )
                          Defendant.                )


                      NOTICE OF DISMISSAL WITH PREJUDICE

          Plaintiff Symbology Innovations LLC, pursuant to Rule 41(a) of the Federal

   Rules of Civil Procedure, herby provides notice that it dismisses WITH PREJUDICE

   all claims in this cause of action against Defendant Clinical Innovation, LLC. Each

   party shall bear its own costs, expenses, and attorneys’ fees.


   Dated: September 27, 2019             Respectfully submitted


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                                        Attorney(s) for Plaintiff Symbology
                                        Innovations, LLC.


         SO ORDERED.


   Dated:___________________     ____________________       __________
                                       Honorable Richard G. Andrews
                                       U.S. District Judge




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